Case: 20-1280   Document: 00118035907       Page: 1   Date Filed: 08/01/2023    Entry ID: 6582675




                          UNITED STATES COURT OF APPEALS
                               FOR THE FIRST CIRCUIT


        ALFRED MORIN,

                     Plaintiff-Appellant,

        v.                                                      No. 20-1280

        WILLIAM LYVER, in his official capacity
        as Northborough Chief of Police;
        COMMONWEALTH OF
        MASSACHUSETTS,

                     Defendants-Appellees.


                       STIPULATION OF DISMISSAL OF APPEAL

             The parties to the above-captioned appeal hereby stipulate and agree to the

      dismissal of the appeal under Fed. R. App. P. 42(b)(1), without costs.



                                             Respectfully submitted,

                                             ALFRED MORIN,

                                             By his attorney,

                                             /s/ David D. Jensen
                                             David D. Jensen, Esq., No. 1166745
                                             David Jensen PLLC
                                             33 Henry St.
                                             Beacon, NY 12508
                                             (212) 380-6615
                                             david@djensenpllc.com
Case: 20-1280   Document: 00118035907   Page: 2   Date Filed: 08/01/2023   Entry ID: 6582675




                                         COMMONWEALTH OF
                                         MASSACHUSETTS,

                                         By its attorney,

                                         ANDREA JOY CAMPBELL
                                         ATTORNEY GENERAL

                                          /s/ Timothy J. Casey
                                         Timothy J. Casey, No. 123832
                                         Assistant Attorney General
                                         Government Bureau
                                         Office of the Attorney General
                                         One Ashburton Place
                                         Boston, Massachusetts 02108
                                         (617) 963-2048
                                         timothy.casey@mass.gov


                                         WILLIAM LYVER, CHIEF OF THE
                                         NORTHBOROUGH POLICE
                                         DEPARTMENT,

                                         By his attorney,

                                         /s/ Janelle M. Austin
                                         Janelle M. Austin, No. 1141809
                                         KP Law, P.C.
                                           Town Counsel
                                         101 Arch Street, 12th Floor
                                         Boston, Massachusetts 02110
                                         (617) 556-0007
                                         jaustin@k-plaw.com

      August 1, 2023




                                           2
Case: 20-1280   Document: 00118035907       Page: 3     Date Filed: 08/01/2023    Entry ID: 6582675




                                CERTIFICATE OF SERVICE

             I hereby certify that on August 1, 2023, this Stipulation of Dismissal of
      Appeal was filed through this Court’s ECF system, and will therefore be sent
      electronically to the registered participants as identified on the Notice of Electronic
      Filing (NEF) and paper copies will be sent to those participants (if any) indicated
      as non-registered participants.

                                              /s/ Timothy J. Casey
                                              Timothy J. Casey
                                              Counsel for the Commonwealth of Mass.




                                                 3
